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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Marcia Melendez, Jarican Realty Inc.,
1025 Pacific LLC, Ling Yang, Top East
Realty LLC, and Haight Trade LLC, Elias Bochner,             20 CV 05301 (RA)
and 287 7th Avenue Realty LLC

                              Plaintiffs,

                v.

The City of New York, a municipal entity,
Bill de Blasio, as Mayor of the City of New York,
Louise Carroll, Commissioner of New York City
Department of Housing Preservation &
Development, and Jonnel Doris, Commissioner of
New York City Department of Small Business
Services,

                             Defendants.



MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ CROSS-MOTION FOR
SUMMARY JUDGMENT DISMISSING THE COMPLAINT AND IN OPPOSITION TO
     PLAINTIFFS’ MOTION FOR SUMMARY DECLARATORY RELIEF

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                                PRELIMINARY STATEMENT

               In this action, Plaintiffs challenge a law adopted by the City of New York to

confront the social and economic fallout from the COVID-19 public health emergency. As part of

its effort to respond to the economic devastation brought on by the COVID-19 pandemic, the New

York City Council (“Council”) passed Local Law No. 55-2020 (“Guaranty Law”) to protect

guarantors, who are typically small business owners, and who were subject to certain pandemic-

related operational restrictions. The Guaranty Law operates as a defense to enforcement of

personal guaranties in commercial leases when certain criteria are met. To invoke this defense, the

guarantor must be a natural person or persons, the tenant must have been forced to cease operating

its business due to certain pandemic era shutdown orders, and the tenant’s default in payment of

rent (or other event which would cause the guarantor to become liable under the contract) must

have occurred between March 7, 2020 and June 30, 2021. The Guaranty Law aims to mitigate the

adverse economic effects of the COVID-19 crisis, but does not alter any other remedy available to

landlords to seek payment of rent under a commercial lease or to retake possession of the premises.

Plaintiffs, a Limited Liability Company which owns commercial space in Manhattan, and its

Managing Member, challenge the Guaranty Law under the Constitution’s Contracts Clause.

               While the Contracts Clause restricts the power of the States to impair contractual

arrangements, the prohibition is “not an absolute one and is not to be read with literal exactness

like a mathematical formula.” U.S. Trust Co. v. New Jersey, 431 U.S. 1, 21 (1977) (quotation marks

omitted). Legislatures retain “broad power” to adopt generally applicable laws “without being

concerned that private contracts will be impaired, or even destroyed, as a result.” Id. at 22. This is

especially true where the government acts to “safeguard the vital interests of its people,” and to

“protect the public health.” Home Bldg. & Loan Ass’n v. Blaisdell, 290 U.S. 398, 434, 436 (1934).

               Analysis of a claim under the Contracts Clause proceeds in three parts. First, the


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challenged law must substantially impair an existing contract. Energy Reserves Grp., Inc. v. Kan.

Power & Light Co., 459 U.S. 400, 411 (1983). Second, if there is a substantial impairment, courts

consider whether the challenged law serves a legitimate public purpose. Id. Third, if the law serves

a legitimate public purpose, courts then consider whether the law is appropriate and reasonable to

achieve that purpose. Id. at 412. Here, any contractual impairment caused by the Guaranty Law is

not substantial because the Guaranty Law is limited in time and scope, and because the Guaranty

Law leaves Plaintiffs’ contractual rights and remedies intact. Importantly, even if the Guaranty

Law impaired Plaintiffs’ contract, it served a legitimate public purpose and is reasonable and

necessary to fulfill its intended purpose – protecting struggling businesses, the individuals that

those businesses employ, and the City’s economy as a whole. Supreme Court precedent is clear:

legislatures are afforded wide discretion to enact laws in the public interest, even if they

significantly diminish—or even eliminate—private contractual rights. That discretion is at an apex

where, as here, a legislature confronts an emergency.

               The Guaranty Law also survives a more exacting review recently set forth by the

Second Circuit in Melendez v City of NY, 16 F.4th 992 (2d Cir. 2021). In connection with the third

prong, the Melendez majority held that five aspects of the Guaranty Law precluded the conclusion

that it was a reasonable and appropriate means to achieve its purpose “as a matter of law,” but

remanded for a decision on the law’s constitutionality on a fuller record. Id. at 1038, 1047.

               First, the majority viewed the Guaranty Law as neither “temporary” nor “limited.”

But the majority viewed the time period covered by the Guaranty Law out of context. When viewed

in light of the multi-year terms of commercial leases, the relief period provided by the Guaranty

Law is limited. Moreover, the record shows that the law’s structure simply tracked its important

public purposes: the legislature reasonably concluded that, absent relief from personal guaranties




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covering the period of forced business closures, the prospect of crippling personal liability would

remain, creating pressure for owners to shutter businesses early.

                 Second, the majority was concerned that the Guaranty Law had no requirement that

businesses commit to reopening, noting “three assumptions informing the City’s enactment of the

Guaranty Law.” However, these “assumptions” were supported by testimony from small business

owner-guarantors. The testimony demonstrated that owner-guarantors were facing financial ruin,

and that a specific condition of reopening in the Guaranty Law was not necessary because business

owners wanted to remain open or to reopen and felt that the Guaranty Law would give them that

ability.

                 Third, the majority underscored that the economic burden of the personal guaranty

law would be borne solely by commercial landlords. But, the Guaranty Law left intact other tools

available to commercial landlords to mitigate their losses, including the right to recover rent from

a tenant, the right to enforce the tenant’s obligation in a court proceeding, and the ability to apply

security deposit funds toward unpaid rent. The law was designed to encourage landlords to

renegotiate with their tenants to share the economic burden, and it was reasonable for the Council

to conclude that commercial landlords are in a far better position to bear the economic burden than

guarantors who were risking their personal assets. Moreover, the Guaranty Law cannot be looked

at in isolation and must be viewed along with other legislative and City agency initiatives designed

to assist small businesses weather the pandemic.

                 Fourth, the Second Circuit questioned the reasonableness of the Guaranty Law as

not conditioned on the guarantor’s need or ability to pay. However, the law is an attempt to head

off a raft of business closures. The Council could reasonably predict that business owners would

choose to close and limit their personal liability, even in circumstances where losing substantial




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personal assets would not necessarily lead to an owner’s impoverishment. And the Council could

judge that its tailoring of the law solely to natural persons guaranteeing businesses that were forced

to close was sufficient, without requiring an additional layer of bureaucracy to try to define and

adjudicate “need” when time was short and the requirement for action pressing.

                Finally, the Second Circuit pointed to the lack of compensation to landlords for the

loss of the ability to enforce the personal guaranty, focusing on the allegations in the amended

complaint regarding alleged inability to collect rent, recover from the Guarantor, and Plaintiff

Bochner’s alleged use of his own personal assets. However, the majority also acknowledged that

other pandemic-related financial assistance to contracting parties may bear on the reasonableness

of impairment without compensation. Here, Plaintiffs were able to borrow from their other

successful business ventures to sustain themselves during times of economic uncertainty and

obtain an SBA disaster loan in the amount of $150,000 in order to weather the pandemic.

                                    STATEMENT OF FACTS1

A.      New York State’s Response to COVID-19

                COVID-19, a highly contagious acute respiratory illness, first appeared in the

United States in January 2020. As of September 9, 2022, there have been over 600 million reported

cases of COVID-19 worldwide, including over 2 million confirmed cases in New York City. D56.1

¶ 2.

                Following the amendment of N.Y. Executive Law § 29-a, the Governor, by

Executive Order (“EO”) No. 202 dated March 7, 2020, declared a state disaster emergency and

directed the total closure of non-essential businesses and the complete or partial suspensions of

others. D56.1 ¶¶ 7-11; Declaration of Carlos Fernando Ugalde Alvarez (“Ugalde Decl.”) dated


1
 For a complete statement of the material and undisputed facts, Defendants respectfully refer the Court to
Defendant’s Statement of Material Undisputed Facts dated September 23, 2022 (“D56.1”).


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August 12, 2020, Exs. B-F [Dkt. 38-2 to 38-7].

B.         The Impact of COVID-19 Closures on Small Businesses

                  These crucial measures limited the spread of COVID-19, averting an even more

severe public health catastrophe, but they had profound costs. As the pandemic was just beginning

to take hold, the City’s Comptroller warned of “significant projected losses in the entertainment,

hotel, restaurant, travel, and tourism sectors,” the industries most affected by stay-at-home orders. 2

D56.1 ¶ 39; See also Declaration of Pamela A. Koplik dated September 23, 2022 (“Koplik Decl.”)

Ex. H at pp. 9-28. Business downturns had the potential to cost the City $3.2 billion in lost tax

revenues. Id. Those predictions soon became a stark reality. Approximately 80% of restaurant

employees lost their jobs. Id. A month into the pandemic, unemployment claims in the City had

increased a staggering 2,637%.3

C.         The City’s Enactment of the Guaranty Law

                  In an effort to address the dual public health and economic crises, the City took

substantial measures to alleviate the impact of the pandemic on New Yorkers. On April 22, 2020,

the Council, in its first ever virtual stated meeting, introduced a package of bills to promote public

health, protect essential workers, and assist small businesses. D56.1 ¶ 11; Koplik Decl., Exs. A-B.

One bill in particular, Introduction No. 1932 (“Intro No. 1932”), was aimed at alleviating the

financial pressures specifically impacting the City’s small business economy. Id. In reviewing this

proposal, Council collected thousands of pages of written testimony; reviewed surveys, articles,

and reports; held six public hearings; and heard hours of oral testimony from small business

regulators and advocates, real estate interest groups, chambers of commerce, community

organizations, and others. See generally, D56.1. In response to this compelling evidence and


2
     See Ugalde Decl. Ex. RR [Dkt. 38-45].
3
    See Ugalde Decl. Ex. NN [Dkt. 38-40].


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testimony, the Council passed Intro No. 1932, as amended, by an overwhelming majority. D56.1

¶ 43; Koplik Decl., Ex. J. The Guaranty Law was enacted on May 26, 2020 as Local Law No. 55

of 2020. D56.1 ¶¶ 46-47; Koplik Decl., Exs. K-L.

                 The Guaranty Law added Admin. Code § 22-1005, entitled “Personal liability

provisions in commercial leases.” When the Council considered the law, business owners-

guarantors were facing a stark choice: close their doors or risk another month of personal liability. 4

With more and more choosing the first option, commercial corridors would become “blighted”

and turn into “ghost towns.” D56.1 ¶ 58; Koplik Decl., Ex. O at 60:8-61:17. Many small business

owners submitted letters explaining their well-founded fears that enforcement of personal

guaranties could cause them to “not only lose our business, our livelihoods and our investments in

the business, but also spend every other dollar we have on commercial rent on a space that is

unusable.” Koplik Decl., Ex. E1 p.13. One owner described the risk of “not only losing my

restaurants and my income,” but also the “risk of losing the entirety of my life savings and any and

all assets I have until I am personally bankrupt.” D56.1 ¶ 32; Koplik Decl., Ex. E1 pp. 106-108.

Business groups and community organizations also supported the law. See, e.g. D56.1 ¶¶ 24-25,

28-29.

                 The Guaranty Law dovetailed with other efforts to address the COVID-19 crisis.

For example, federal Paycheck Protection Program loans available to small businesses, whose

“overarching focus” was on “keeping workers paid and employed” required that at least 75% of

loans be used for payroll. Business Loan Program Temporary Changes; Paycheck Protection


4
  The legislative record reflects specific concerns with so-called “good guy” guaranties, such as the one at
issue in this case. See, e.g., D56.1 ¶¶ 24, 32, 59. Good guy guaranties allow the tenant to give up possession
of the leased premises in return for extinguishing ongoing personal liabilities of the guarantor. Koplik Decl.,
Ex. OO at p. 76. But, it is not as simple as giving up the keys and walking away. To avoid future liability,
the guarantor must ordinarily provide notice—and sometimes, such as here, as much as six-months’
notice—racking up personal liability during that entire period. Id.


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Program, 85 Fed. Reg. 20811, 20814 (Apr. 15, 2020). In addition, the COVID-19 Pandemic Small

Business Recovery Grant Program, offered by New York State, initially required that a business

show profit in 2019 as a requirement for eligibility. Many of the City’s small businesses could not

access these state funds because of this requirement. Declaration of Coby Kalter (“Kalter Decl.”)

at ¶ 7. Council heard testimony in support of the Guaranty Law from numerous business owners

who indicated that PPP and other available loan and grant programs were difficult to access,

underfunded, and otherwise not benefiting owners in a meaningful way. D56.1 ¶¶ 17-34.

                The final law received broad support. A representative of the local hospitality sector

testified that nothing “is keeping small business owners awake at night more than … personal

guaranties on commercial leases.” D56.1 ¶ 24; Koplik Decl., Ex. D at 153:14-155:08. The

extensions of the Guaranty Law (Local Law Nos. 98-2020 and 50-2021) likewise received broad

support, were the result of multiple hearings where the Council received oral and written testimony

from small business owners, and large institutional organizations that support them, about the

urgent need for personal liability protections. 5 D56.1 ¶¶ 51- 79.

D.      Plaintiffs and the Instant Action

                Plaintiff Elias Bochner (“Plaintiff Bochner”) is the Managing Member of Plaintiff

287 7th Avenue Realty LLC (“Plaintiff 7th Avenue”), a limited liability company, which owns the

property located at 287 7th Avenue, a mixed-use building with one commercial space (“subject

premises”). D56.1 at 87; Plaintiffs’ Rule 56.1 Statement (“P56.1”) at ¶ 16; Koplik Decl., Ex. UU.

                Plaintiffs allege, and defendants do not dispute, that pursuant to a June 9, 2006

Lease (“Lease”), Plaintiff 7th Avenue leased the one commercial space at the subject premises to

Tenant Sunburger 1 LLC (“Sunburger”). D56.1 at ¶ 88; P56.1 at ¶ 17; Koplik Decl., Ex. OO1-002.


5
 The extensive legislative record for the extensions of the Guaranty Law were not part of the prior record
of this case and were not in the record before the Second Circuit. Koplik Dec. ¶¶ 15-37, Exs. N – MM.


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Plaintiff 7th Avenue obtained a security deposit in the amount of $57,000. D56.1 at ¶ 101; Koplik

Decl., Ex. SS at 2. Mitch Cantor (“Guarantor”) personally guaranteed the Lease by signing a “good

guy” guaranty. D56.1 at ¶ 89; Koplik Decl., Ex. OO2 at p. 29. On March 20, 2020, Sunburger

served a Six Month Notice of Tenant’s Intention to Vacate and Surrender the Premises for the

subject premises (D56.1 at ¶ 91; Koplik Decl., Ex. QQ), and subsequently surrendered the subject

premises (and all fixtures, furniture and equipment therein) effective June 30, 2020. D56.1 at ¶ 92;

Koplik Decl., Ex. RR. Eleven months later, in February 2021, Plaintiff 7th Avenue received a

disaster assistance loan in the amount of $150,000 from the U.S. Small Business Administration.

D56.1 at ¶ 100; Koplik Decl., Exs. TT, UU.

                                              ARGUMENT 6

                                                 POINT I

                         THE COMPLAINT SHOULD BE DISMISSED
                         IN ITS ENTIRETY AS A MATTER OF LAW.

                Plaintiffs seek relief declaring as unconstitutional and enjoining the Guaranty Law. 7

See generally Amended Complaint (“Am. Compl.”). Yet, government enactments are presumed

to be constitutional. Bush v. Vera, 517 U.S. 952, 992 (1996). A movant is entitled to a grant of

summary judgment as a matter of law when “there is no genuine issue as to any material fact.”

FRCP 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). “Because [this] motion . . .

presents a pure legal question, . . . the district court is equipped to make a determination on the

merits.” Goldberg v. Danaher, 599 F.3d 181, 183 (2d Cir. 2010).



6
  Plaintiffs’ challenges to the Commercial and Residential Harassment Laws (Local Law Nos. 53-2020 and
56-2020) were dismissed by this Court and affirmed by the Second Circuit. Melendez v. City of NY, 16
F.4th 992 (2d Cir. 2021).
7
  Plaintiffs appear to assert an as-applied challenge on the basis of their Contracts Clause claim. See Compl.
¶¶ 194-199 and 204-205; see also Plaintiffs’ Br. at 10-11.



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A.     Jurisdictional Defects Require Dismissal of the Complaint

               At the outset, plaintiffs suffer from two jurisdictional problems. To start, the court

has no free-floating “jurisdiction to pronounce any statute … void because irreconcilable with the

Constitution.” New York v. Ferber, 458 U.S. 747, 767 n.20 (1982) (quotation marks omitted); see

also Nashville, C. & St. L. R. Co. v. Wallace, 288 U. S. 249, 262 (1933) (inquiring whether a suit

for declaratory relief “would be justiciable in this Court if presented in a suit for injunction”);

Medtronic, Inc. v. Mirowski Family Ventures, LLC, 571 U. S. 191, 197 (2014) (noting that a court

looks to “the nature of the threatened action in the absence of the declaratory judgment suit” to

determine whether jurisdiction exists). The City does not enforce the Guaranty Law, it is a defense

that would by a guarantor. Because the City does not “enforce [the Guaranty law]” against

plaintiffs, any injunction would “amount to no more than a declaration that the statutory provision

they attack is unconstitutional,” which is “that is the very kind of relief that cannot alone supply

jurisdiction otherwise absent.” California v. Texas, 141 S. Ct. 2104, 2116 (2021). Moreover, the

action is not ripe. Discovery revealed that Plaintiffs never attempted to recover any amounts in

litigation from Sunburger or the Guarantor, the Guarantor never invoked the defense of the

Guaranty Law. See D56.1 ¶ 96. Moreover, at least a portion of the alleged amounts due pursuant

to the Lease accrued prior to March 7, 2020 and are still conceivably recoverable from the

Guarantor despite the Guaranty Law. See D56.1 ¶ 99; Koplik Decl., Ex.SS.

B.     The Guaranty Law Does Not Violate the Contracts Clause.

               The Contracts Clause provides that “[n]o State shall pass any . . . Law . . . impairing

the Obligation of Contracts.” U.S. Const. Art. I, § 10 cl. 1. The extent to which States may exercise

their police powers to the detriment of private contracts is determined by applying the three-part

test articulated in Energy Reserves Group, Inc. v. Kansas Power & Light Co., 459 U.S. 400 (1982)

[hereinafter, “Energy Reserves”]; See Buffalo Teachers Fed’n v. Tobe, 464 F.3d 362, 368 (2d Cir.


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2006) [hereinafter, “Buffalo Teachers”].

       1.      The Record Suggests That The Guaranty Law Does Not Substantially Impair
               Plaintiffs’ Contract.

               The threshold inquiry in a Contracts Clause analysis is whether the law “has, in

fact, operated as a substantial impairment of a contractual relationship.” Energy Reserves, 459 U.S.

at 411. The substantial impairment inquiry asks “the extent to which the law undermines the

contractual bargain, interferes with a party’s reasonable expectations, and prevents the party from

safeguarding or reinstating his rights.” Melendez, 16 F.4th at 1033 (quoting Sveen v. Melin,

___U.S.___, 138 S Ct 1815, 1822 (2018)).

               Crediting Plaintiffs’ allegations as true, the Second Circuit held that Plaintiffs had

plausibly pled a substantial impairment of their contract. See Melendez, 16 F.4th at 1033. In so

holding, the Second Circuit specifically credited Plaintiffs’ allegations that personal guaranties are

“critical inducements,” for Plaintiffs when entering into a commercial lease. Melendez, 16 F.4th

at 1034. (“[W]e must accept as true plaintiffs’ assertion that personal guaranties play this

indispensable role in commercial leases and infer therefrom that landlords reasonably rely on the

protection of such guaranties when leasing to small businesses.”). Plaintiffs reiterate in their

Supplemental Memorandum of Law in Support of Their Motion for Declaratory Relief [Dkt. 92]

(“Pls. Supp. Br.”) that the personal guaranty was a “primary inducement” without which Plaintiff

7th Avenue would not have entered into the lease. Pls. Supp. Br. at p. 14. However, the post-

discovery record contradicts this claim.

               Deposition testimony makes clear that, far from being an integral part of Plaintiffs’

contract, Plaintiffs rarely communicated with the guarantor. See generally, D56.1 ¶¶ 95-98; Koplik

Decl., Exs. NN, VV. Plaintiffs noted that “personal guaranties enable tenants to lease spaces they

would otherwise be precluded from leasing because of an owner’s need or desire to place a more



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creditworthy tenant on the lease.” Pls. Supp. Br. at pp. 8-9. Yet, Plaintiffs appear to know little

more than the guarantor’s name. D56.1 ¶¶ 95-98; Koplik Decl., Exs. NN, VV. Plaintiffs do not

have contact information for the guarantor. Id. Plaintiffs do not know the relationship between the

guarantor and their tenant. Id. Critically, even after the tenant defaulted, Plaintiffs did not attempt

to collect from the tenant or guarantor through litigation. Id. These facts weigh heavily against a

finding that the guaranty was a “critical inducement” as Plaintiffs claim.

               Although the Guaranty Law leaves intact a landlord’s ability to enforce debts

arising in the covered statutory period against tenants, the Second Circuit expressed skepticism

about the practical realities of doing so. The majority stated that “the practical likelihood of

landlords . . . recovering rent arrears from delinquent small business tenants is speculative at best”

because “a landlord invokes his guaranty rights only when a tenant is not paying rent” and “state

laws and regulations have limited landlords’ ability to use eviction to minimize their rent losses.”

Melendez, 16 F.4th at 1033. The majority further posited that collecting rent from tenants might

prove difficult because “commercial tenants . . . can dissolve and/or use bankruptcy to avoid

accumulated rent indebtedness.” Id. The Court concluded, “viewing the pleadings record in the

light most favorable to plaintiffs as we are required to do on review of a judgment of dismissal

under Rule 12(b)(6), we are not now persuaded that, as a matter of law, tenants’ continued

obligations for unpaid rent compels a conclusion that the Guaranty Law’s permanent impairment

of guaranty obligations is not substantial.” Id. at 1033-34.

               However, the legislative record reflects that the practical likelihood of recovering

from a guarantor is equally dubious. The record includes testimony from several owner-guarantors

indicating that they have few assets beyond the assets of the businesses whose leases they

guaranteed. See, e.g., D56.1 ¶ 34; Koplik Decl. Ex. E1 p.13. Testimony in the legislative record




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further reflects that individual guarantors were facing personal bankruptcy. 8 Importantly, Plaintiffs

asserted no facts that speak to the assets or solvency of their guarantor. Indeed, Plaintiffs have

little information concerning their guarantor. See D56.1 ¶¶ 95-98; Koplik Decl., Exs. NN, VV.

                Because this Court is no longer bound to accept Plaintiffs’ claims as true, and

because the record contradicts Plaintiffs’ claim that a personal guaranty is a critical inducement

upon which they have reasonably relied, this Court should find that the Guaranty Law does not

substantially impair Plaintiffs’ contract.

        2.      The Guaranty Law Serves a Significant and Legitimate Public Interest.

                Assuming arguendo that this Court finds a substantial impairment, the Court must

next determine if the law has a legitimate public purpose. Energy Reserves, 459 U.S. at 411. The

“remedying of a broad and general social or economic problem” constitutes such a purpose. Id. at 412. The

Guaranty Law easily meets the public-purpose test because it is designed to prevent the bankruptcies of

small business owners, the firing of their employees, and the broader economic devastation brought on

by a raft of business closures. 9 As the Second Circuit stated, “the COVID-19 pandemic has

prompted a serious economic as well as health emergency in New York City. Nor do plaintiffs

deny that – the Contracts Clause’s origins in economic crises notwithstanding – controlling

precedent recognizes the mitigation of economic emergencies as a public purpose that can support


8
  See, e.g., D56.1 ¶ 33; Koplik Decl., Ex. E1, p. 111(“Because of personal guarantees in our leases I not
only have to deal with a potentially failing business, I too have to think about personal financial ruin and
bankruptcy.”); D56.1 ¶ 34; Koplik Decl., Ex. E1, p. 13 (“In the current situation I cannot afford to pay rent
and I cannot afford to give notice. I will quickly run out of money either way . . . I am out of options. …
We will then be forced into bankruptcy to liquidate whatever little else we might have, to pay commercial
rent on a location that has been forced to close.”).
9
  As the Council Member Rivera explained, “countless small business owners” had very real concerns about
“going belly up” and the potential to lose “their personal life savings and asset[s] because of a disaster no
one saw coming.” D56.1 ¶ 44; Koplik Decl., Ex. J at pp. 29-30. And, as the Council elaborated in extending
the law, individuals “risk losing their personal assets, including their possessions and even their own homes,
transforming a business loss into a devastating personal loss.” D56.1 ¶ 73; Koplik Decl., Koplik Decl., Ex.
Z at p.3. Alternatively, if business owners opted to close their doors to avoid personal liability, “the
economic and social damage caused to the city will be greatly exacerbated.” Id.


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contract impairment.” Melendez, 16 F. 4th at 1036. Though Plaintiffs “disagree” with the Second

Circuit’s findings (Pls. Supp. Br. at p.14), Plaintiffs have not seriously attempted to refute this

point either by legal argument or developing the record.

       3.      The Guaranty Law is a Reasonable and Necessary Means to Achieve its Purpose.

               a. The Council Reasonably Concluded that the Guaranty Law Would
                  Mitigate the Economic Crisis

       When reviewed under the traditional application of Supreme Court precedent, the Guaranty

Law is a reasonable and necessary means to achieve its intended purpose. The touchstone of the

Supreme Court’s modern Contracts Clause jurisprudence is that legislatures retain “broad power”

to adopt generally applicable laws “without being concerned that private contracts will be

impaired, or even destroyed, as a result.” U.S. Trust Co. v. New Jersey, 431 U.S. 1, 22 (1977); see

also Buffalo Teachers, 464 F.3d at 367 (explaining that the legislature’s police power “is

paramount to any rights under contracts between individuals” (quotation marks omitted)). As the

Supreme Court has “repeatedly held,” so long as the government is not a contracting party, courts

should “defer to legislative judgment as to the necessity and reasonableness of a particular

measure.” Keystone Bituminous Coal Ass'n v DeBenedictis, 480 U.S. 470, 505 (1987) (quotation

marks omitted).

               Here, the Council properly judged that the Guaranty Law was a reasonable and

appropriate means to address the potential for the mass, permanent closure of small businesses,

taking with them the livelihoods of all the employees who depend on those businesses reopening

in some capacity. The Guaranty Law is not simply a poverty-prevention measure, but rather an

attempt to head off a raft of business closures for the broader public good. Many business owners

testified at the hearings and through the written testimony that enforcement of personal guaranties

could cause them not only to lose their businesses, but to lose their life savings. See generally,



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D56.1; Koplik Decl. The Council heard testimony from numerous sources that other efforts to

address the COVID-19 crisis, such as loan and grant programs, were difficult to navigate,

inaccessible to many because of language barriers, and quickly ran out of funding. Id. The Council

made a considered judgment, based on its own experience and a substantial legislative record, that

the personal guaranty law would accomplish its goals.

               The Guaranty Law’s built-in limitations further demonstrate that it is a reasonable

and appropriate means to serve the public interest. The law is tailored in four material respects.

First, the law affects only guaranties signed by a “natural person,” excluding corporate guarantors,

and has no effect on the terms of the actual lease. Indeed, the law did not apply to any of the

original plaintiffs, and the complaint had to be amended to find plaintiffs who were purportedly

affected by the law. Second, the law applies only to commercial tenants who were forced to close

or reduce capacity under a subset of executive orders. N.Y.C. Admin. Code § 22-1005(1). Third,

the law only renders a qualifying personal guaranty unenforceable when a default or other event

causing the individual-guarantor’s personal liability occurs between March 7, 2020 and June 30,

2021. Finally, the law does not deprive landlords of any other remedies under their leases,

including recovering unpaid rent and interest from tenants, charging late payment fees, applying

security deposit funds, terminating a tenant’s right to possession, recovering damages, and selling

property in the premises and applying proceeds to unpaid rent.

               The Council also considered other alternatives and opted to narrow the scope of the

law. See Buffalo Teachers, 464 F.3d at 371. For instance, the draft bill that was originally

introduced, Intro. No. 1932, was vastly reduced in scope by Intro. No. 1932-A, which was enacted




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as the Guaranty Law. 10 See Koplik Decl. Exs. A, L. As enacted, the law only covers commercial

tenants subject to the in-person business and workplace restrictions set forth in EO Nos. 202.3,

202.6, and 202.7 and is limited in duration. Id. § 22-1005(2). See Buffalo Teachers, 464 F.3d at

371; see also Blaisdell, 290 U.S. at 447; Allied Structural Steel Co. v. Spannaus, 438 U.S. 234,

242-43 (1978).

                In view of the unprecedented emergency to which it responds, there can be no doubt

that the Guaranty Law, in the words of Energy Reserves, “is of a character appropriate to the public

purpose justifying the legislation’s adoption.”11 Energy Reserves, 459 U.S. at 412.

                b. The Five Factors Identified by the Second Circuit do not render the
                   Guaranty Law Unconstitutional

                The Guaranty Law also survives when reviewed under the Second Circuit’s

recently articulated standard for Contracts Clause analysis. See generally Melendez v City of NY,

16 F.4th 992 (2d Cir. 2021). In Melendez, the majority identified five aspects of the Guaranty Law

that, in its view, weighed against Rule 12(b)(6) dismissal as a matter of law. Notably, the extensive

legislative record for the extensions of the Guaranty Law was not before the Second Circuit. And

the Second Circuit provided that this court should consider the effect of these factors on remand

and with a fuller view of the record. The full record and a careful reading of the law’s true purposes

establish that the Guaranty Law was a reasonable and appropriate means to achieve those purposes.




10
   The initial proposal would have suspended the enforcement of guaranties for commercial tenants who (1)
were subject to any seating, occupancy, or on-premises limitations pursuant to any order issued by the
Governor or the Mayor; or (2) suffered a 50% or more decline in revenues compared to its pre-COVID
revenues. D56.1 ¶ 38; Koplik Decl., Ex. F.
11
   In Twentieth Century Assocs., Inc. v. Waldman, 294 N.Y. 571, 580 (1945), the New York Court of
Appeals upheld a law establishing a rent ceiling for commercial spaces that was enacted during a public
emergency because “[i]n the light of the emergency which called into play the police powers of the State
in this case, we are unable to say that the measures taken in the public interest were unreasonable or
inappropriate to curb the evils arising from the emergency and to accomplish the public purposes declared
in the statute.”


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               First, the majority noted that the fact that the Guaranty Law is not a “temporary” or

“limited” impairment “weigh[s] heavily against a finding of reasonableness” Melendez, 16 F.4th

at 1049. While the law applies only where the tenant defaulted between March 2020 and June

2021, the majority reasoned that it “destroys the guaranties by rendering them forever

unenforceable” for that period. Id. at 1039.

               But the majority viewed this time period out of context. When viewed in light of

the multi-year terms of commercial leases, the relief period provided by the Guaranty Law is

limited. The Guaranty Law covers the period of March 7, 2020 to June 30, 2021 – just under 16

months, which is a fraction of Plaintiff 7th Avenue’s lease term. Indeed, Council heard testimony

from business owners whose lease terms were as long as 10 years. See D56.1 ¶34; Koplik Decl.

Ex. E1, p. 13. Plaintiff 7th Avenue’s lease was initially for a seven-year term, and was subsequently

extended for multi-year terms, with the most recent extension for a five (5) year term. Koplik Decl.

Ex. OO. The Guaranty Law only protects a personal guarantor from liability for debts accruing

during an extremely limited sixteen month window – not the entirety of the lease term.

               And the law’s structure simply tracked its important public purposes: the legislature

reasonably concluded that, absent relief from personal guaranties covering the period of forced

business closures, the prospect of crippling personal liability would remain, creating pressure for

owners to shutter businesses early. The Council was deeply concern with the impact, not only on

individual guarantors, but on the effect that these closures would have on the City’s economy

generally. As then-Speaker Corey Johnson, observed:

       Small businesses employ 26 percent of New Yorkers and if they close down,
       hundreds of thousands of workers will permanently lose their jobs and the city loses
       out on billions of dollars in sales tax, property tax and income tax revenue. Our
       economy runs on small businesses and now they are facing unprecedented losses.
       This could be the worst economic disaster that New York City has seen since the
       great depression. Many businesses will be forced to shut down for good if they



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       don’t get more help. That won’t just devastate business owners and their workers,
       it will further destabilize our economy, our neighborhoods, and the lives of so many
       New Yorkers. Congress made some improvements to the Paycheck Protection
       program but those loans are still too hard to access in their ensured supply and I’m
       not confident that they will end up helping the vast majority of New York City
       small businesses. This is particularly true for the city’s immigrant owned small
       businesses. They face significant obstacles in accessing loans because of language
       barriers, documentation requirements and eligibility criteria. We absolutely need
       more federal support here but there are some things that the city can do.

D56.1 ¶ 21; Koplik Decl., Ex. D at 10:11-11:13.

               Even if “permanent,” Supreme Court (and prior Second Circuit) precedent upheld

permanent deprivations in DeBenedictis and Sanitation & Recycling. DeBenedictis, 480 U.S. at

505; Sanitation & Recycling Indus. v. City of New York, 107 F.3d 985, 994 (1997); see also CFCU

Cmty. Credit Union v. Hayward, 552 F.3d 253, 268 (2d. Cir. 2009) (upholding law that, as here,

“reduces the assets available for satisfaction of” debt obligation). In neither case did the decision

give any indication that the permanency of the deprivation “weigh[s] heavily” against the law’s

constitutionality.

               Second, the majority held that the Guaranty Law’s lack of a requirement that

businesses commit to reopen after the forced closures ended weighed against its reasonableness in

light of what the majority viewed as the Guaranty Law’s purpose, i.e. to “help shuttered businesses

survive the pandemic.” Melendez, 16 F.4th at 1040. The majority noted “three assumptions

informing the City's enactment of the Guaranty Law: (a) that shuttered small businesses are usually

owned by the individuals guaranteeing their leases (b) that these owner-guarantors would be

financially ruined if required to pay their businesses’ rent arrears, and (c) that financially ruined

owners would be unlikely to reopen shuttered businesses.” Id. at 1040-41. The majority concluded

“[t]he problem with concluding that the Guaranty Law is an appropriate means to serve this public

purpose is that the law does not condition the relief it affords on guarantors owning shuttered




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businesses or, even if they do, on their ever reopening those businesses.” Id.

                These “assumptions” identified by the majority were based on the legislative

record, specifically, testimony from small business owners and guarantors. See e.g., D56.1 ¶¶ 32-

34; Koplik Decl. Ex. E1 at pp. 13, 106-08, 111. This testimony from owner-guarantors showed

how dire their financial circumstances were. For example, Gabriel Stulman, CEO and Founder of

Happy Cooking Hospitality testified:

       Emotionally and financially I am preparing for this possibility of going bankrupt
       and belly up… I am concerned that my landlords in addition to them keeping my
       security deposits (most of them 3 months and in excess of $60,000), are entitled to
       — and likely will — sue me personally for my obligations under my various leases.
       The Bill 1932-2020 that you have proposed is instrumental to my existence and that
       of most small businesses in this city.

D56.1 ¶ 32; Koplik Decl., Ex. E1 pp. 106-108.

                Based on the extensive testimony in the record from small business owner-

guarantors on this point, it was reasonable for the Council to conclude that small business owners

would be “financially ruined if required to pay their businesses’ rent arrears.” Indeed, many small

business owners had “no clear path forward to continue to earn a living.” Kalter Decl. ¶ 6.

                For similar reasons, it was also reasonable for Council to conclude that a specific

condition of reopening in the Guaranty Law was not necessary. Business owners were clear – they

wanted to remain open or to reopen and felt that the Guaranty Law would give them that ability.

For example, one business owner testified that “[t]he vast majority of [small business owners]

WANT to revive our businesses, but it will be impossible without some bold support from our

landlords and from the government.” D56.1 ¶ 35; Koplik Decl., Ex. E1 at p. 146 (emphasis in

original). In addition, over 700 business operators submitted virtually identical written testimony,

which stated:

       As the operator of a business in your district, I URGE you to SPONSOR and PASS
       the following critical legislation that will support small businesses in your district,


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       giving us a fighting chance to survive.
See D56.1 ¶ 36; Koplik Decl., Exs. E1-E5. (underline emphasis added).

               Based on this testimony and the many other impassioned pleas of small business

owners impacted by the shutdown, Council could reasonably conclude that requiring a

commitment to reopen was simply unnecessary. No one wanted to close. No one wanted to be out

of business be it temporarily or permanently.

               The law serves a broader public purpose as well. The purpose of the Guaranty Law

was not only to help small business survive and to protect their employees, but also to prevent the

broader devastation caused by business closures and mass layoffs combined with personal

bankruptcies. As set forth in the law’s declaration of legislative intent and findings, if “individual

owners and natural persons are forced to close their businesses permanently now or to suffer grave

personal economic losses like the loss of a home, the economic and social damage caused to the

city will be greatly exacerbated and will be significantly worse than if these businesses are able to

temporarily close and return or, failing that, to close later, gradually, and not all at once.” D56.1

¶¶ 73, 85; Koplik Decl., Exs. MM, Z at 3.

               As Council Member and bill sponsor Carolina Rivera, stated:

       My bill will ensure that business owners, should they be forced to walk away or
       temporarily shutter their stores, through no fault of their own can do so without
       facing personal liability[.] Sadly, I am already hearing from small businesses in my
       district that some landlords who I understand maybe suffering as well are going
       after small business owners life savings and personal assets during this national
       pandemic.

See D56.1 ¶ 15; Koplik Decl., Ex. D at 30:03 -31:03. As set forth supra, Speaker Johnson identified

the greater threat to New York City’s economy, and the “significant obstacles” small business

owners faced in securing pandemic relief from other sources. See D56.1 ¶ 21; Koplik Decl., Ex. D

10:11-11:13.



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                Third, the majority underscored that the economic burden of the personal guaranty

law would be borne solely by commercial landlords. Melendez, 16 F.4th at 1042. But as stated,

supra, this economic burden can be mitigated – the Guaranty Law does not render unenforceable

or diminish Plaintiffs’ (i) right to recover the tenant’s rental payments during the applicable time

period; (ii) right to enforce the tenant’s rental obligation in a court proceeding; or (iii) ability to

apply often substantial security deposit funds towards unpaid rent.

                Additionally, the Guaranty Law was intended to encourage Landlords to negotiate

and renegotiate leases with their tenants for the benefit the economy as a whole. As Council

Member Rivera stated at the September 14, 2020 hearing on the first extension bill for the Guaranty

Law (Local Law 98 of 2020):

        That’s great, and that was absolutely one of the intentions of, of putting forward
        this bill, was to not just protect our small business owners who are really just such
        important New Yorkers to us, they keep the city moving, that are the lifeblood, but
        also to show to some of these landlords that, um, we really are trying to do
        everything we can to support a fair and effective negotiation. We realize
        everybody’s in hard times, ah, but that increase in landlords looking to negotiate
        new lease terms was absolutely a positive side effect of the bill that I put forward
        that we’re hoping to extend today,…

See Koplik Decl., Ex. O at 32: 4-16; Kalter Decl. at ¶¶ 9-14.

                Moreover, in cases asserting a Contracts Clause claim, an unequal burden is placed

on the party whose contract rights are affected. It was reasonable for the Council to conclude that,

unlike personal guarantors, commercial landlords were in far better position to bear the economic

burden.12 As the Council specifically found in the “declaration of legislative intent and findings,”



12
  Plaintiff Bochner, the only remaining individual Plaintiff in this action, specifically benefitted from this
shield. Contrary to Bochner’s claims, he did not spend personal funds to cover any debts resulting from a
tenant’s failure to pay rent. Plaintiff Bochner testified at his deposition that $200,000 of funds to pay real
estate taxes were contributed “from other investments that we have” and explained that there is a “common
practice” that “when one building is short, that one entity will borrow [from] the other entity and when the
funds are available, pay it back.” Koplik Decl., Ex. VV, 42:13 – 43:25.


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of both Local Law Local Law 98 of 2020 and Local Law 50 of 2021:

        While businesses may be willing to weather the economic hardships imposed upon
        them by governmental measures to combat COVID-19 by either staying open or
        temporarily closing and later reopening, individual owners and other natural
        persons who personally guarantee the financial obligations of these businesses face
        a different and more substantial risk than losing revenue and profit. They risk losing
        their personal assets, including their possessions and even their own homes,
        transforming a business loss into a devastating personal loss. This is particularly a
        risk for small businesses, as the scale of the financial obligations of larger
        businesses generally renders having a natural person guarantee those obligations
        impracticable.

See Koplik Decl., Exs. Z and MM at 3.

               The Guaranty Law’s placement of any economic burden cannot be viewed in

isolation:

        The City Council treated the Guaranty Law as part of an overall package to support
        small businesses impacted by the pandemic. In addition to the policies it eventually
        enacted, including the Guaranty Law, the City Council considered alternative
        policies and policy designs… the City Council ultimately did not adopt the position
        of the landlords and others who opposed the Guaranty Law, it did not limit
        landlords’ other remedies to enforce commercial tenants’ obligations through the
        Guaranty Law, and it later passed legislation to provide tax relief to certain property
        owners adversely impacted by COVID-19. See App'x at 3534-35 (reproducing
        NYC Local L. 2020/62).

Melendez, 16 F.4th at 1066-1067 (Carney, J., dissenting in part); Local Law 62 of 2020.

Additionally, separate from legislative initiatives, City agencies in general, and SBS in particular,

helped businesses weather the pandemic in other ways:

        [SBS] helped small businesses weather this critical period by: assisting more than
        10,000 small businesses connect to more than half a billion in city, state, federal,
        and philanthropic funding opportunities; helping hundreds of business owners
        negotiate leases to keep their doors open; launching a small business hotline that
        fielded more than 75,000 calls about reopening, financing, business operations, and
        legal assistance; and supporting more than 12,000 restaurants and saving more than
        100,000 jobs. [SBS] supported innovative programs that helped employers to: train
        employees in tech and healthcare to meet the growing demand for remote workers;
        adopt and expand e-commerce models; and leverage opportunities to provide new




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       goods and services.

See SBS Report entitled Supporting NYC Small Business Recovery & Growth. 13 The analysis of

the placement of economic burden must not be looked at separate from the full panoply of services

available to all businesses (including landlords) to weather the pandemic.

               Fourth, the Second Circuit noted that the Guaranty Law is not conditioned on the

guarantor’s need or ability to pay. Melendez, 16 F. 4th at 1043. But the law is not simply a poverty-

prevention measure, but rather an attempt to head off a raft of business closures for the broader

public good. Council could reasonably predict that business owners would choose to close and

limit their personal liability, with all the broader economic consequences that would entail, even

in circumstances where losing substantial personal assets would not necessarily lead to an owner’s

impoverishment. And the Council could judge that its tailoring of the law solely to natural persons

guaranteeing businesses that were forced to close was sufficient, without requiring an additional

layer of bureaucracy to try to define and adjudicate “need” when time was short and the

requirement for action pressing. Moreover, a showing of need has never been previously required

by the Supreme Court. See, e.g., East New York Savings Bank v. Hahn, 326 U.S. 230, 231 (1945)

(no showing of need required); Blaisdell, 290 U.S. 398 (same).

               Nevertheless, the record is replete with testimony from small business owners, and

large institutional organizations that advocate for them 14 demonstrating the ongoing and urgent

need for personal liability relief. See D56.1 at ¶¶ 17-36, 55-65, 77-79; See also, Kalter Decl at ¶¶


13
   Available at https://www1.nyc.gov/assets/sbs/downloads/pdf/about/reports/supporting-nyc-recovery-
growth.pdf (last visited Sept. 23, 2022)
14
    These organizations include, Think Chinatown, New York City Hospitality Alliance, Association for
Neighborhood and Housing Development, Asian American Federation, The New York State Restaurant
Association, the Third Avenue Business Improvement District and the Bruckner Boulevard Improvement
District, Relief Opportunities for All Restaurants (“ROAR”), Take Root Justice, Volunteers of Legal
Service (“VOLS”), Cooper Square Committee, and New York City Artist Coalition and Music Workers
Alliance.


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9-14. Moreover, while Plaintiffs erroneously imply that the “changing economic conditions” made

the extensions of the Guaranty Law unnecessary (Pls. Supp. Br. at p. 7) that cannot be further from

the truth. New York City is still struggling to recover from the pandemic, especially in the

hospitality industry where many personal guaranties tend to occur:

       While the country as a whole has recently regained all of the jobs it lost early in the
       health crisis, New York City is still missing 176,000 [jobs] representing the slowest
       recovery of any major metropolitan area, according to the latest employment
       data….A majority of the lost private sector jobs have been concentrated in the
       hospitality and retail industries, traditional pipelines into the work force for younger
       adults, immigrants and residents without a college degree.

Nicole Hong and Matthew Haag, In New York City, Pandemic Job Losses Linger, N.Y. Times,

September 14, 2022.

               Finally, the Second Circuit pointed to the lack compensation to landlords for the

loss of the ability to enforce the personal guaranty. Melendez, 16 F. 4th at 1045-46. But in

questioning the lack of a compensation requirement, the majority focused on the allegations of the

Plaintiff Bochner in the Am. Compl. stating, in relevant part:

       On the present record we must assume that such damages can be extensive. The
       amended complaint alleges that when an inability to collect rent or to enforce rent
       guaranties left landlord 287 7th Avenue Realty LLC unable to pay tax obligations,
       the LLC's principal, Mr. Bochner, drew on $35,000 of his own fund to make the
       payments.

Id. at 1045. In fact, the fully-developed record now reveals that, despite allegations to the contrary,

Plaintiff Bochner did not personally pay property taxes owed by Plaintiff 7th Avenue. See supra

fn. 12. Moreover, the record here reveals other ways that Plaintiffs were able to weather the

pandemic, including the fact that the tenant left behind assets including restaurant fixtures and

other equipment, which were then leased along with the commercial space to a different restaurant

in October 2020. See D56.1 at ¶¶ 102-103; Koplik Decl., Ex. NN, 34:24-35:18, 55:17-18. Far

from having insufficient “assets to continue to operate as a going concern” (Pl. 56.1 ¶18), Plaintiffs



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were able to use assets left behind by the tenant, and borrow from their other successful business

ventures to sustain themselves during times of economic uncertainty.

                Moreover, no case has ever suggested that the government is obligated to

compensate a party whose contract is impaired—such a requirement is found in the Takings

Clause, but not the Contracts Clause. At most, two New Deal-era mortgage moratoria cases

mention a mortgagor’s ongoing obligation to pay some amount. See Blaisdell, 290 U.S. at 445; W.

B. Worthen Co. v. Kavanaugh, 295 U.S. 56, 61 (1935). But here, as in those cases, tenants are

obligated to pay the rent as it is due under the lease—only guarantors are exempt. Moreover, none

of the modern cases suggest that any compensation is owed, or that compensation is even a relevant

consideration, when the legislature extinguishes valuable contract rights. See, e.g., DeBenedictis,

480 U.S. at 505; Sanitation & Recycling, 107 F.3d at 994. Indeed, the Second Circuit itself

acknowledged that it was not “suggest[ing] that compensation is always necessary to defeat a

Contracts Clause challenge.” Melendez, 16 F. 4th at 1046.

                Here too the Guaranty Law cannot be viewed in isolation. Critically, the Second

Circuit acknowledged that “other pandemic-related financial assistance to contracting parties may

bear on the reasonableness of impairment without compensation.” Melendez, 16 F 4th at fn. 82.

And the Second Circuit left open the possibility that their analysis could be altered with additional

record evidence on this point. Id. As discussed above, government pandemic assistance was not

accessible to small business tenants. D56.1 at ¶¶ 17-34; Kalter Decl. at ¶ 7. Notably, here it is

undisputed that Plaintiff 7th Avenue was able to obtain an SBA disaster loan in the amount of

$150,000 in order to weather the pandemic. 15 D56.1 at ¶ 100; Koplik Decl., Exs. TT, UU.


15
   Defendants requested in discovery, but Plaintiffs failed to provide the following regarding the SBA
disaster loan: i) the application documents; ii) an itemization of what the SBA disaster loan was used for;
and iii) the amount still due and owing on the SBA disaster loan. Koplik Decl. ¶ 47.


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               Applying the factors identified by the Second Circuit, a review of the full legislative

record and a careful reading of the law’s true purposes establish that the Guaranty Law was a

reasonable and appropriate means to achieve those purposes. When small business owners decided

to back their businesses with their personal assets, potentially placing their life savings and homes

on the line, they were betting on their business plans, not on a once-in-a-century pandemic. Before

the Council acted, the expectation under most commercial leases was that small business

commercial tenants (and their guarantors) alone should bear the risk and the financial fallout from

the pandemic. The Council sought to support the City’s small businesses, and those who rely on

them, with a carefully-calibrated piece of legislation that was mindful of the needs and resources

available to owner-guarantors and their landlord partners. While the pandemic is receding, the

economic harm brought to these small businesses is still palpable. Invalidating the Guaranty Law

would threaten the financial security of thousands of small business owners and their families,

employees, and communities. See generally, Kalter Decl.

                                         CONCLUSION

               For the foregoing reasons, Defendants respectfully request that the Court grant

Defendants’ cross-motion for summary judgment dismissing the Am. Compl. in its entirety. There

are no genuine issues of material fact and the Guaranty Law is Constitutional.

Dated:         New York, New York
               September 23, 2022
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